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                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


 WINDY MORRIS,
                                                     CIVIL COMPLAINT
               Plaintiff,

 v.                                                  CASE NO. 1:17-cv-02200

 VERDE ENERGY USA, INC. d/b/a
 VERDE ENERGY USA ILLINOIS, LLC,                     DEMAND FOR JURY TRIAL

               Defendant.


                                          COMPLAINT

        NOW comes WINDY MORRIS (“Plaintiff”), by and through her attorneys, Sulaiman Law

Group, Ltd. (“Sulaiman”), complaining as to the conduct of VERDE ENERGY USA, INC. d/b/a

VERDE ENERGY USA ILLINOIS, LLC (“Defendant”), as follows:

                                     NATURE OF THE ACTION

      1. Plaintiff brings this action for damages pursuant to the Telephone Consumer Protection

Act (“TCPA”) under 47 U.S.C. §227 and the Illinois Consumer Fraud and Deceptive Business

Practices Act (“ICFA”) under 815 ILCS 505/1 for Defendant's unlawful practices.

                                    JURISDICTION AND VENUE

      2. This action arises under and is brought pursuant to the TCPA. Subject matter jurisdiction

is conferred upon this Court by 47 U.S.C §227, 28 U.S.C. §§1331 and 1337, as the action arises

under the laws of the United States and supplemental jurisdiction exists for the state law claim

pursuant to 28 U.S.C. §1367.




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    3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant conducts business

in the Northern District of Illinois and a substantial portion the events or omissions giving rise to

the claims occurred within the Northern District of Illinois.

                                               PARTIES

    4. Plaintiff is a 46-year-old natural “person” as defined by 47 U.S.C. §153(39).

    5. Defendant is an independent energy supplier which offers consumers renewable energy at

competitive rates. With its headquarters located at 101 Merritt 7, 2nd Floor, Norwalk, Connecticut,

Defendant is a Delaware corporation that regularly conducts business with consumers in Illinois.

    6. Defendant is a “person” as defined by 47 U.S.C. §153(39).

    7. Defendant acted through its agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives and insurers at all time

relevant to the instant action.

                              FACTS SUPPORTING CAUSES OF ACTION

    8. Toward the end of 2016, Plaintiff began receiving calls from Defendant to her cellular

phone, (815) XXX-3684. See attached Exhibit A for a true and correct copy of an affidavit signed

by Plaintiff.

    9.    At all times relevant, Plaintiff was the sole subscriber, owner, and operator of the cellular

phone ending in 3684. Plaintiff is and has always been financially responsible for the cellular

phone and its services.

    10. The phone number that Defendant most often uses to contact Plaintiff is (708) 231-0860.

See Exhibit A.

    11. Upon information and belief, the above phone number ending in 0860 is regularly utilized

by Defendant to make outgoing calls to consumers it is soliciting for business.



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    12. Prior to receiving its phone calls, Plaintiff was not aware of what Defendant was or why it

would be calling her. Id.

    13. After speaking with Defendant, Plaintiff discovered that it was trying to solicit her to use

it for energy services. Id.

    14. Plaintiff is unaware as to how Defendant got her information, as she was not interested in

obtaining its energy services. Id.

    15. When Plaintiff answers calls from Defendant, she experiences a brief pause, lasting

approximately four to five seconds in length, before a live person begins to speak. Id.

    16. Upon speaking with one of Defendant’s representatives, Plaintiff demanded that it place

her on its do-not-call list and to stop calling her. Id.

    17. Despite Plaintiff’s demands, Defendant has continued to regularly call her cellular phone

up until the date of the filing of this complaint. Id.

    18. Defendant has also called Plaintiff’s cellular phone multiple times in the same day. Id.

    19. For instance, on March 4, 2017 and March 6, 2017, Defendant called Plaintiff’s cellular

phone not less than 4 times on each respective day. Id.

    20. Plaintiff has received not less than 28 phone calls from Defendant since asking it to stop

calling. Id.

    21. Frustrated over the persistent calls, Plaintiff spoke with Sulaiman regarding her rights

resulting in costs and expenses.

    22. With the goal of specifically addressing Defendant’s conduct, Plaintiff has expended

approximately $81.00 to purchase and maintain an application subscription on her cellular phone

to block the calls, resulting in pecuniary loss. Id.

    23. Plaintiff has been unfairly harassed by Defendant's actions.



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   24. Plaintiff has suffered concrete harm as a result of Defendant’s actions, including but not

limited to, invasion of privacy, aggravation that accompanies solicitation telephone calls,

emotional distress, increased risk of personal injury resulting from the distraction caused by the

never-ending calls, increased usage of her telephone services, loss of cellular phone capacity,

diminished cellular phone functionality, decreased battery life on her cellular phone, and

diminished space for data storage on her cellular phone.


          COUNT I – VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

   25. Plaintiff repeats and realleges paragraphs 1 through 24 as though fully set forth herein.

   26. The TCPA, pursuant to 47 U.S.C. § 227(b)(1)(iii), prohibits calling persons on their

cellular phone using an automatic telephone dialing system (“ATDS”) without their consent. The

TCPA, under 47 U.S.C. § 227(a)(1), defines an ATDS as “equipment which has the capacity...to

store or produce telephone numbers to be called, using a random or sequential number generator;

and to dial such numbers.”

   27. Defendant used an ATDS in connection with its communications directed towards

Plaintiff. The brief pause that Plaintiff experienced during answered calls before being connected

to a live representative of Defendant is instructive that an ATDS was being used. Similarly, the

frequency and nature of Defendant’s calls are indicative of an ATDS.

   28. Defendant violated the TCPA by placing at least 28 phone calls to Plaintiff’s cellular

phone using an ATDS without her consent. Any consent Plaintiff may have given to Defendant

was explicitly revoked by her demands to cease contact.

   29. The calls placed by Defendant to Plaintiff were regarding solicitation and not for

emergency purposes as defined by the TCPA under 47 U.S.C. §227(b)(1)(A)(i).




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   30. Under the TCPA, pursuant to 47 U.S.C. § 227(b)(3)(B), Defendant is liable to Plaintiff

for at least $500.00 per call. Moreover, Defendant’s willful and knowing violations of the TCPA

should trigger this Honorable Court’s ability to triple the damages to which Plaintiff is otherwise

entitled to under 47 U.S.C. § 227(b)(3)(C).

   WHEREFORE, Plaintiff, WINDY MORRIS, respectfully requests that this Honorable Court

enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   b. Awarding Plaintiff damages of at least $500.00 per phone call and treble damages
      pursuant to 47 U.S.C. §§ 227(b)(3)(B)&(C);

   c. Awarding Plaintiff costs and reasonable attorney fees;

   d. Enjoining Defendant from further contacting Plaintiff; and

   e. Awarding any other relief as this Honorable Court deems just and appropriate.


                       COUNT II – VIOLATIONS OF THE ILLINOIS
                CONSUMER FRAUD AND DECEPTIVE BUSINESS PRACTICES ACT

   31. Plaintiff restates and realleges paragraphs 1 through 30 as though fully set forth herein.

   32. Plaintiff is a “person” and “consumer” as defined by 815 ILCS 505/1(c) and (e) of the

ICFA.

   33. Defendant’s solicitation calls to Plaintiff are “trade” and “commerce” as defined by 815

ILCS 505/1(f) of the ICFA.

   34. The ICFA states:

               “Unfair methods of competition and unfair or deceptive acts or
               practices, including but not limited to the use or employment of any
               deception, fraud, false pretense, false promise, misrepresentation or
               the concealment, suppression or omission of any material fact, with
               intent that others rely upon the concealment, suppression or
               omission of such material fact . . . in the conduct of any trade or

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                commerce are hereby declared unlawful whether any person has in
                fact been misled, deceived or damaged thereby.” 815 ILCS 505/2.

   35. Defendant violated 815 ILCS 505/2 by engaging in an unfair and deceptive act or practice

in contacting Plaintiff. It was unfair for Defendant to relentlessly contact Plaintiff through means

of an ATDS when she requested that it no longer do so. Plaintiff notified Defendant to place her

on its do-not-call list and to stop calling her. Defendant ignored Plaintiff’s requests and unfairly

continued to systematically contact her at least 28 times after she made her request. Following its

characteristic behavior in placing voluminous solicitation phone calls to consumers, the calls here

were placed with the hope that Plaintiff would succumb to its harassing behavior and purchase

Defendant’s energy services.

   36. Defendant has also placed multiple calls to Plaintiff’s cellular phone in the same day, even

after being told to cease calling. Placing multiple calls in a short amount of time is extremely

harassing behavior that amounts to unfair practice, especially after being told by Plaintiff that she

does not wish to be contacted.

   37. The ICFA was designed to protect consumers, such as Plaintiff, from the exact behavior

committed by Defendant.

   38. The ICFA further states:

                “Any person who suffers actual damage as a result of a violation of
                this Act committed by any other person may bring an action against
                such person. The court, in its discretion may award actual economic
                damages or any other relief which the court deems proper.” 815
                ILCS 505/10a.

   39. As pled in paragraphs 20 through 24, Plaintiff has suffered actual damages as a result of

Defendant’s unlawful solicitation practices, including expending money on a monthly application

subscription on her cellular phone to block the calls. As such, Plaintiff is entitled to relief pursuant

to 815 ILCS 505/10a. An award of punitive damages is appropriate because Defendant’s conduct

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was outrageous, willful and wanton, and showed a reckless disregard for the rights of Plaintiff.

Plaintiff had not used Defendant’s energy services in the past, but yet, she was still bombarded

with solicitation phone calls even after notifying it that she was not interested in its services and

to stop calling her. Despite these numerous demands, Defendant continued to violate the law by

engaging in a phone call campaign against Plaintiff. Upon information and belief, Defendant

regularly engages in the above described behavior against consumers in Illinois and for public

policy reasons should be penalized.

   WHEREFORE, Plaintiff, WINDY MORRIS, respectfully requests that this Honorable Court

enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   b. Awarding Plaintiff actual and punitive damages, in an amount to be determined at trial,
      for the underlying violations;

   c. Awarding Plaintiff costs and reasonable attorney fees;

   d. Enjoining Defendant from further contacting Plaintiff; and

   e. Awarding any other relief as this Honorable Court deems just and appropriate.

Dated: March 21, 2017                                  Respectfully submitted,

s/ Nathan C. Volheim                                   s/Taxiarchis Hatzidimitriadis
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